       Case 2:10-cr-00255-TLN Document 112 Filed 04/14/15 Page 1 of 3


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     Attorneys for Defendant
6    KIEDOCK KIM
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8
                   IN THE UNITED STATES DISTRICT COURT FOR THE
9

10                             EASTERN DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,                           CASE NO: 2:10-CR-0255 TLN
12
                                                         STIPULATION AND ORDER
13                Plaintiff,                             REGARDING DISPOSITION
                                                         OF $145.00 IN INTEREST
14

15                 vs.

16   FRENCH GULCH NEVADA MINING
     CORPORATION, BULLION RIVER
17
     GOLD CORPORATION, PETER
18   MARTIN KUHN, and KIEDOCK KIM,
19             Defendants.
20   _____________________________/

21           On July 9, 2010, defendant Kiedock Kim signed and filed an unsecured

22   appearance bond; and, thereafter, on July 13, 2010, deposited $100,000.00 in the

23   Court’s registry to secure the bond as memorialized by receipt number

24   CAE200027864 on the Docket Report by Court Clerk’s text entry dated July 13,

25   2010;

26           On March 4, 2015, this Court authorized transfer of those funds to partially

27   satisfy the defendant’s obligation to pay restitution to the United States Bureau of

28   Land Management, ECF #107;
                                                     1
                     Stipulation and Order Regarding Disposition of $145.00 In Interest
       Case 2:10-cr-00255-TLN Document 112 Filed 04/14/15 Page 2 of 3


1          The Clerk of the Court thereafter advised the Court and the parties that the
2    amount of $145.00 in interest had accrued on the deposit;
3          The defendant, having by now completed his restitution in the amount of
4    $107,160.00 as required by this Court’s Judgment, it is hereby stipulated by and
5    between the parties, the Defendant Kiedock Kim and the United States, through
6    their respective counsel, that, subject to this Court’s approval, the accrued
7    interest should be returned to the defendant by the Clerk of the Court.
8    Dated: April 13, 2015                    Respectfully submitted,
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                                              SEGAL & ASSOCIATES, PC
10

11
                                       By:    /s/ Malcolm Segal
12                                            MALCOLM SEGAL
                                              Attorneys for Defendant
13                                            KIEDOCK KIM
14

15
                                              BENJAMIN B. WAGNER
16                                            United States Attorney
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18   Dated: April 13, 2015             By:    /s/ Samuel Wong_______________
                                              SAMUEL WONG
19
                                              Assistant United States Attorney
20                                            (By permission)
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                   Stipulation and Order Regarding Disposition of $145.00 In Interest
       Case 2:10-cr-00255-TLN Document 112 Filed 04/14/15 Page 3 of 3


1                                            ORDER
2
           GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties,
3
     the Clerk of the Court is directed to return the accrued interest on the deposit in
4

5    the registry of the Court, in the amount of $145.00 to the defendant.

6          IT IS SO ORDERED.
7
     Dated: April 13, 2015
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9                                                 Troy L. Nunley
10                                                United States District Judge

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                   Stipulation and Order Regarding Disposition of $145.00 In Interest
